             Case 2:19-bk-55262                Doc 2          Filed 08/15/19 Entered 08/15/19 12:19:03                         Desc Main
                                                              Document     Page 1 of 20
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

         Southern District Of Ohio
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                              
                                                              X   Chapter 7
                                                                 Chapter 11
                                                                 Chapter 12
                                                                 Chapter 13                                                Check if this is an
                                                                                                                               amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        Deanna
                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name
       identification (for example,
       your driver’s license or         L.
                                        __________________________________________________            __________________________________________________
       passport).                       Middle name                                                   Middle name

       Bring your picture               Whetzel
                                        __________________________________________________            __________________________________________________
       identification to your meeting   Last name                                                     Last name
       with the trustee.                ___________________________                                   ___________________________
                                        Suffix (Sr., Jr., II, III)                                    Suffix (Sr., Jr., II, III)




2.    All other names you               Deanna
                                        __________________________________________________            __________________________________________________
      have used in the last 8           First name                                                    First name
      years                             L.
                                        __________________________________________________            __________________________________________________
       Include your married or          Middle name                                                   Middle name
       maiden names.                    Hines
                                        __________________________________________________            __________________________________________________
                                        Last name                                                     Last name

                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name

                                        __________________________________________________            __________________________________________________
                                        Middle name                                                   Middle name
                                        __________________________________________________            __________________________________________________
                                        Last name                                                     Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                       6 ____
                                                           7 ____
                                                               0 ____
                                                                  8                                  xxx    – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1        Deanna L. Whetzel
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         
                                           X I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           19459 Dog Leg Rd
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Marysville                      OH      43040
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           UNION
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                           
                                           X Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        Deanna L. Whetzel
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                           
                                           X Chapter 7
                                            Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee             
                                           X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                      No.     Go to line 12.
      residence?                           
                                           X Yes.    Has your landlord obtained an eviction judgment against you?

                                                     
                                                     X   No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1        Deanna  L. Whetzel
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1        Deanna L. Whetzel
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             X I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




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Debtor 1       Deanna  L. Whetzel
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after X Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                       
                                         X No
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                      
                                           X $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities            
                                           X $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            /s/
                                              ______________________________________________               _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          08/08/2019
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


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Debtor 1     Deanna L. Whetzel
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        /s//s/
                                         _________________________________
                                                Kingston E. Malley, Jr.                                     Date           _________________
                                                                                                                           08/08/2019
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Kingston E. Malley, Jr.
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Kingston E. Malley, Jr.
                                           _________________________________________________________________________________________________
                                           Firm name

                                           885 High Street, Suite 106
                                           _________________________________________________________________________________________________
                                           Number     Street

                                           _________________________________________________________________________________________________

                                           Worthington
                                           ______________________________________________________ OH
                                                                                                  ____________ 43085
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (614) 431-1763
                                           Contact phone _____________________________________             Email address   kmalley@kingstonlaw.attorney
                                                                                                                           ______________________________




                                           0002836                                                OH
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




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                                 Acceptance Solutions Group
                                 750 N Orleans
                                 Chicago,IL 60654

Dothins




                                 AD Astra Recovery Services
                                 7330 W. 33rd St N.
                                 Wichita,KS 67205

Dothins




                                 Advance America
                                 1910 Hard Rd
                                 Columbus,OH 43235

Dothins




                                 American HomePatient
                                 5200 Maryland Way, Ste 400
                                 Brentwood,TN 37027

Dothins




                                 Amy Clum Holbrook
                                 323 W. Lakeside Ave, Ste 200
                                 Cleveland,OH 44113

Dothins




                                 Arcadia Recovery Buearu
                                 PO Box 16414
                                 Columbus,OH 43216

Dothins




                                 CBCS
                                 PO Box 163279
                                 Columbus,OH 43216-3279

Dothins




                                 CBCS
                                 PO Box 163279
                                 Columbus,OH 43216

Dothins




                                 Charles Hines
                                 19459 Dog Leg Rd
                                 Marysville,OH 43040

Dothins
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                                 Charter Communications
                                 12405 Powerscourt Dr
                                 St. Louis,MO 63131

Dothins




                                 Chase Bank
                                 Mail Code OH1-1272
                                 340 S. Cleveland Ave, Bldg 370
                                 Westerville,OH 43081

Dothins




                                 Check 'n Go
                                 c/o REC Acquisitions LLC
                                 1349 Empire Central Dr Ste 150
                                 Dallas,TX 75247

Dothins




                                 Checksmart
                                 7001 Post Road
                                 Dublin,OH 43016

Dothins




                                 Choice Recovery Inc.
                                 1550 Old Henderson Rd Ste S
                                 Columbus,OH 43220

Dothins




                                 City of Columbus, Ohio
                                 Parking Violations Bureau
                                 2700 Impound Lot Rd
                                 Columbus,OH 43207

Dothins




                                 Client Services Inc.
                                 3451 Harry S Truman Blvd
                                 Saint Charles,MO 63301-4047

Dothins




                                 Coastal Credit, LLC
                                 10333 N Meridian St, Ste 400
                                 Indianapolis,IN 46290

Dothins




                                 Columbus Arthritis Center
                                 1211 Dublin Rd
                                 Columbus,OH 43215

Dothins
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                                 Consumer Cellular
                                 7204 SW Durham Rd #300
                                 Portland,OR 97224

Dothins




                                 Coughlin Marysville
                                 15777 Watkins Rd
                                 Marysville,OH 43040

Dothins




                                 Credit One Bank
                                 PO Box 98872
                                 Las Vegas,NV 89193-3242

Dothins




                                 Crescent Bank and Trust
                                 PO Box 2460
                                 Chesapeake,VA 23327

Dothins




                                 Damascus Family Medicine
                                 c/o Carlile Patchen & Murphy LLP
                                 366 E. Broad St
                                 Columbus,OH 43215

Dothins




                                 DeVry University
                                 Student Account Center
                                 1200 East Diehl Rd
                                 Napersville,IN 60563

Dothins




                                 Encore Receivable Management
                                 400 N Rogers Rd
                                 PO Box 3330
                                 Olathe,KS 66063-3330

Dothins




                                 Enhanced Recovery Company
                                 PO Box 57547
                                 Jacksonville,FL 32241

Dothins




                                 Enhanced Recovery Company
                                 8014 Bayberry Rd
                                 Jacksonville,FL 32256

Dothins
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                                 Honda Federal Credit Union
                                 17655 Echo Drive
                                 Marysville,OH 43040

Dothins




                                 HP Sears
                                 2000 18th Street
                                 Bakersfield,CA 93301

Dothins




                                 Independence University
                                 4021 South 700 East Ste 400
                                 Salt Lake City,UT 84107

Dothins




                                 Keybridge Medical Revenue Care
                                 PO Box 1568
                                 Lima,OH 45802-1568

Dothins




                                 KeyBridge Medical Revenue Care
                                 2348 Baton Rouge
                                 Lima,OH 45802-1568

Dothins




                                 MaternOhio Clinicial Associates
                                 PO Box 712353
                                 Cincinnati,OH 45271-2353

Dothins




                                 Meade & Associates Inc.
                                 737 Enterprise Dr
                                 Lewis Center,OH 43035-9436

Dothins




                                 Memorial Hospital
                                 500 London Ave
                                 Marysville,OH 43040

Dothins




                                 Monarch Recovery Management
                                 3260 Tillman Dr Ste 75
                                 Bensalem,PA 19020

Dothins
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                                 National Recovery Systems, Ltd
                                 501 Shelley Dr Ste 300
                                 Tyler,TX 75701

Dothins




                                 Nationwide Children's
                                 700 Children's Drive
                                 Columbus,OH 43205-2664

Dothins




                                 OhioHealth Grant Riverside Labs
                                 PO Box 183221
                                 Columbus,OH 43218-3221

Dothins




                                 OSU Wexner Medical Center
                                 Patient Financial Services
                                 660 Ackerman Rd
                                 Columbus,OH 43218-3102

Dothins




                                 Portfolio Recovery
                                 120 Corporate Blvd Ste 100
                                 Norfolk,VA 23502

Dothins




                                 Premiere Bank Card
                                 c/o The A.D.R. Group
                                 414 W. Grand Blvd. #424
                                 Corona,CA 92878

Dothins




                                 Professional Credit Service
                                 400 International Way
                                 Springfield,OR 97477

Dothins




                                 Progressive Leasing
                                 256 W. Data Drive
                                 Draper,UT 84020

Dothins




                                 Real Time Resolutions, Inc.
                                 PO Box 567749
                                 Dallas,TX 75356-7749

Dothins
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                                 SAC Finance/Superior Auto Inc
                                 6642 Saint Joe Rd
                                 Fort Wayne,IN 46835

Dothins




                                 Speedy Cash
                                 3527 N Ridge Rd
                                 Wichita,KS 67205

Dothins




                                 Sprint
                                 6200 Sprint Pkwy
                                 Overland Park,KS 66251

Dothins




                                 Sync/Care Credit
                                 c/o PO Box 965036
                                 Orlando,FL 32896-5036

Dothins




                                 Synchrony Bank/SYCC
                                 Care Care/Tire Discounters
                                 PO Box 965068
                                 Orlando,FL 32896

Dothins




                                 The Retina Group Inc.
                                 262 Neil Avenue, Suite 220
                                 Columbus,OH 43215-7310

Dothins




                                 Title Max
                                 15 Bull St Ste 200
                                 Savannah,GA 31401-2686

Dothins
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                                                 UNITED STATES BANKRUPTCY COURT
                                                            Southern District of Ohio


In re:                                                                                               Case No.
         Deanna L. Whetzel
                                              Debtors
                                                                                                     Chapter    7


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     August 8, 2019                                            Signed:   /s/




         Dated:                                                               Signed:



                    /s//s/ Kingston E. Malley, Jr.
                    Kingston E. Malley, Jr.
                    Attorney for Debtor(s)
                    Bar no.: 0002836
                    885 High Street, Suite 106
                    Worthington, Ohio 43085
                    Telephone No: (614) 431-1763
                    Fax No: (614) 785-9490

                    E-mail address:
                    kmalley@kingstonlaw.attorney
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LBR Form 1015–2                                                                                   Case No._______________________

                                       STATEMENT OF RELATED CASES
                                 INFORMATION REQUIRED BY LOCAL RULE 1015–2
                        UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF OHIO

Check the appropriate box(es) with respect to each of the following items and state the required information in the space below.

If any previous bankruptcy case of any kind was filed in any court within the last eight (8) years by or against this debtor or any entity
related to the debtor as described below, or if the debtor or any entity related to the debtor as described below has a pending bankruptcy
case in any bankruptcy court regardless of when such case was filed, then set forth 1) the name of the debtor, 2) the case number, 3) the
date filed, 4) the chapter filed under, 5) the district and division where the case is or was pending, 6) whether the case is open or closed,
7) if the case remains open, whether the case is dismissed, 8) whether a discharge was granted, denied, or revoked, 9) any real estate in
the case, 10) the judge assigned to the case, and 11) if the prior case was a case under chapter 13 which was confirmed, paid out and
discharged, and the current case is a chapter 7 case, the percentage paid to unsecured creditors in the chapter 13 case.

☐
X None


☐ This debtor (identical individual, including DBAs, FDBAs)
☐ This debtor (identical business entity)
☐ Spouse of this debtor
☐ Former spouse of this debtor
☐ Affiliates(s) of this debtor (see § 101(2) of the Code)
☐ Entity with which this debtor has substantial identity of financial interests or assets
☐ Corporation/LLC if this debtor is or was a major shareholder/member of the corporation/LLC
☐ Major shareholder of this debtor (if this debtor is a corporation)
☐ Partnership, if this debtor is or was a general partner in the partnership
☐ General partner of this debtor (if this debtor is a partnership)
☐ General partner of this debtor (if this debtor is or was another general partner therewith)
Debtor Name                          Case Number        Date Filed                  Chapter            Judge Name


District/                   Open/Closed       Dismissed          Discharge (Granted/          Real Estate       Percentage Paid
Division                                      (Y/N)              Denied/Revoked)              (Y/N)             (if applicable)




I declare, under penalty of perjury, that the foregoing is true and correct.

      August 8, 2019
Dated:__________________                                     /s/
                                                             _____________________________________
                                                             Debtor

                                                             _____________________________________
                                                             Joint Debtor




                                            ADD ADDITIONAL PAGES AS NECESSARY
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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

 _____________________________________________________
                 Southern District Of Ohio
 Case number (If known):              ________________________




Official Form 121
Statement About Your Social Security Numbers                                                                                                    12/15

Use this form to tell the court about any Social Security or federal Individual Taxpayer Identification numbers you have used. Do not file this
form as part of the public case file. This form must be submitted separately and must not be included in the court’s public electronic records.
Please consult local court procedures for submission requirements.
To protect your privacy, the court will not make this form available to the public. You should not include a full Social Security Number or
Individual Taxpayer Number on any other document filed with the court. The court will make only the last four digits of your numbers known
to the public. However, the full numbers will be available to your creditors, the U.S. Trustee or bankruptcy administrator, and the trustee
assigned to your case.
Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in
fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 Part 1:     Tell the Court About Yourself and Your spouse if Your Spouse is Filing With You

                                For Debtor 1:                                               For Debtor 2 (Only If Spouse Is Filing):


 1. Your name                  Deanna
                               _________________________________________________            _________________________________________________
                                First name                                                  First name
                               L.
                               _________________________________________________            _________________________________________________
                                Middle name                                                 Middle name
                               Whetzel
                               _________________________________________________            _________________________________________________
                                Last name                                                   Last name


 Part 2:     Tell the Court About all of Your Social Security or Federal Individual Taxpayer Identification Numbers


 2. All Social Security
    Numbers you have
                                  2 __
                                 __     1 – __
                                     8 __       4 – __
                                             7 __    6 __
                                                        7 __
                                                           0 __
                                                              8                             __ __ __ – __ __ – __ __ __ __
    used
                                 __ __ __ – __ __ – __ __ __ __                             __ __ __ – __ __ – __ __ __ __

                                  You do not have a Social Security number.                 
                                                                                             X You do not have a Social Security number.

 3. All federal Individual
    Taxpayer                     9 __ __ – __ __ – __ __ __ __                              9 __ __ – __ __ – __ __ __ __
    Identification
    Numbers (ITIN) you           9 __ __ – __ __ – __ __ __ __                              9 __ __ – __ __ – __ __ __ __
    have used
                                 
                                 X You do not have an ITIN.                                 
                                                                                            X You do not have an ITIN.
 Part 3:     Sign Below


                                 Under penalty of perjury, I declare that the information   Under penalty of perjury, I declare that the information
                                 I have provided in this form is true and correct.          I have provided in this form is true and correct.


                                _______________________________________
                                 /s/                                                        _______________________________________
                                                                                                 ____/_____/________
                                   Signature of Debtor 1                                       Signature of Debtor 2

                                   Date 08/08/2019
                                        _________________                                      Date _________________
                                        MM / DD / YYYY                                              MM / DD / YYYY
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 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

      You are an individual filing for bankruptcy,
                                                                           $245     filing fee
        and                                                                 $75     administrative fee
                                                                 +          $15     trustee surcharge
      Your debts are primarily consumer debts.
                                                                           $335     total fee
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
        primarily for a personal, family, or                     difficulty preventing them from paying their
        household purpose.”                                      debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 The types of bankruptcy that are                                bankruptcy discharge relieves you after
 available to individuals                                        bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
      Chapter 7 — Liquidation
                                                                 However, if the court finds that you have
      Chapter 11 — Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
      Chapter 12 — Voluntary repayment plan
                    for family farmers or                        may deny your discharge.
                    fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
      Chapter 13 — Voluntary repayment plan
                    for individuals with regular                 debts are not discharged under the law.
                    income                                       Therefore, you may still be responsible to pay:
                                                                     most taxes;
 You should have an attorney review your                             most student loans;
 decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
 chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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    most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                 you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Monthly                     is sold.
 Income (Official Form 122A–1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A–2).
                                                                          $1,167 filing fee
 If your income is above the median for your                     +          $550 administrative fee
 state, you must file a second form —the                                  $1,717 total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test—deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2
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Read These Important Warnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200 filing fee
                                                                 future earnings. If the court approves your
 +           $75 administrative fee
            $275 total fee
                                                                 plan, the court will allow you to repay your
                                                                 debts, as adjusted by the plan, within 3 years or
 Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
 family farmers and fishermen to repay their                     factors.
 debts over a period of time using future
 earnings and to discharge some debts that are                   After you make all the payments under your
 not paid.                                                       plan, many of your debts are discharged. The
                                                                 debts that are not discharged and that you may
                                                                 still be responsible to pay include:
                                                                     domestic support obligations,
 Chapter 13: Repayment plan for
             individuals with regular                                most student loans,
             income                                                  certain taxes,
                                                                     debts for fraud or theft,
           $235    filing fee
                                                                     debts for fraud or defalcation while acting
 +          $75    administrative fee
                                                                      in a fiduciary capacity,
           $310    total fee
                                                                     most criminal fines and restitution
 Chapter 13 is for individuals who have regular                       obligations,
 income and would like to pay all or part of                         certain debts that are not listed in your
 their debts in installments over a period of time                    bankruptcy papers,
 and to discharge some debts that are not paid.
                                                                     certain debts for acts that caused death or
 You are eligible for chapter 13 only if your
                                                                      personal injury, and
 debts are not more than certain dollar amounts
                                                                     certain long-term secured debts.
 set forth in 11 U.S.C. § 109.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                 A married couple may file a bankruptcy case
                                                                 together—called a joint case. If you file a joint
     Warning: File Your Forms on Time
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                Understand which services you
     their deadlines, go to:                                     could receive from credit
     http://www.uscourts.gov/bkforms/bankruptcy_form             counseling agencies
     s.html#procedure.
                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
 consequences
                                                                 receive the briefing. With limited exceptions,
      If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury—either orally or                 is usually conducted by telephone or on the
       in writing—in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
       All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from:
                                                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
 Make sure the court has your                                    In Alabama and North Carolina, go to:
 mailing address                                                 http://www.uscourts.gov/FederalCourts/Bankruptcy/

 The bankruptcy court sends notices to the                       BankruptcyResources/ApprovedCredit

 mailing address you list on Voluntary Petition                  AndDebtCounselors.aspx.

 for Individuals Filing for Bankruptcy (Official
                                                                 If you do not have access to a computer, the
 Form 101). To ensure that you receive
                                                                 clerk of the bankruptcy court may be able to
 information about your case, Bankruptcy
                                                                 help you obtain the list.
 Rule 4002 requires that you notify the court of
 any changes in your address.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 4
